                        IN THE SUPREME COURT OF TEXAS


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                                 No. 11-0276
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          In Re  First Texas Bhc, Inc. And Southwest Bank, Relator

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                      On Petition for Writ of Mandamus
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      ORDER

      1.    The motion to abate, filed on May  27,  2011,  is  granted,  and
this case is  ABATED  to  allow  the  parties  to  proceed  with  settlement
negotiations.
      2.    This case is  removed  from  the  Court's  active  docket  until
August 1, 2011, by which time the parties must file either a  status  report
or a motion to dismiss.  The parties shall  immediately  notify  this  Court
about any changes in status in the settlement proceedings.

      Done at the City of Austin, this 17th day of June, 2011.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




